               Case 5:17-cr-00166-PSG Document 1 Filed 07/27/17 Page 1 of 11 Page ID #:1

 A091 (Rev. 11/R21                                        CRIMINAL COMPLAINT                                   OR~~G~NAL
           UNITED STATES DISTRICT COURT                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                        DOCKET NO.
               UNITED STATES OF AMERICA
                          v.
               OMAR ERNESTO HERNANDEZ                                   MAGISTizarE°s cnsE rro.



Complaint for violation of Title 8, United States Code, Sections 1324(a)(1)(A)(ii): Transporting Illegal Aliens
Within the United States
NAME OF MAGISTRATE JiJDGE                                                                                    LocaTiorr
                                                                         UNITED STATES
HONORABLE ANDREW J. WISTRICH                                             MAGISTRATE JUDGE                    Los An eles, California
DATE OF OFFENSE                                PLACE OF OFFENSE          ADDRESS OF ACCUSED (IF KNOB

Jul 26, 2017                                   Los Angeles Count
COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

           On or about July 26, 2017, in Los Angeles County, within the Central District of California, defendant
 OMAR ERNESTO HERNANDEZ("defendant"), knowingly transported aliens, who had come to, entered, and
 remained in the United States in violation ofthe law within the United State, by means oftransportation and
 otherwise, in furtherance of such violation oflaw.



BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED: (See attached affidavit which is incorporated as part of this Complaint)

MATERIAL WITNESSES IN RELATION TO THIS CHARGE: NIA


                                                                       SIGNATURE OF COMPLAINANT
Being duly sworn, I declare that the foregoing is true and correct
to the best of my knowledge.                                           GLORIA MARRUFO-EV
                                                                       OFFICIAL TITLE
                                                                       Special Agent,~ard r;          ~o
Sworn to before me and subscribed in my presence,                                    f
SIGN         OF MAGISTRATE JUDGE~~>
                                            y~~✓
                                               _" 1                                                               DATE

                                                                                                                  July 27,2017
~'~ See~dera]Rules of Criikanal Procedure 3 and 54
AUSA KATHERINE A. RYKKEN                                     REC: DETENTION



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 Case 5:17-cr-00166-PSG Document 1 Filed 07/27/17 Page 2 of 11 Page ID #:2




                               AFFIDAVIT

      I, Gloria Marrufo-Evans, being duly sworn, hereby depose

and say:

                       I.    PURPOSE OF AFFIDAVIT

      1.   This affidavit is made in support of a criminal

complaint and arrest warrant for Omar Ernesto HERNANDEZ

("HERNANDEZ"), charging him with a violation of Title 8, United

States Code, Section 1324(a)(1)(A)(ii)         Transporting Illegal

Aliens Within the United States.

      2.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from other law enforcement agents and

investigators.    This affidavit is made for the sole purpose of

demonstrating probable cause for the issuance of this criminal

complaint and search warrant and does not purport to set forth

all of my knowledge of this investigation.         Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part.

           II.   BACKGROUND FOR AGENT GLORIA MARRUFO-EVANS

      3.   I am a Border Patrol Agent with the United States

Department of Homeland Security ("DHS"), Bureau of Customs and

Border Protection ("CBP"), United States Border Patrol ("USBP"),

and I have been so employed since July 14, 1997.          I am currently

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  Case 5:17-cr-00166-PSG Document 1 Filed 07/27/17 Page 3 of 11 Page ID #:3




 assigned to the Targeted Enforcement Unit at the Murrieta Border

 Patrol Station, enforcing the immigration laws of the United

 States.

      4.    While employed as a Border Patrol Agent, I received

 formal training in immigration laws and enforcement, as well as

 training through my experience and conversations with other law

 enforcement agents with whom I have worked.         I have conducted

 and participated in numerous investigations, as well as

 searches, the execution of arrest warrants, and prosecutions of

 criminal violations.

                   III. STATEMENT OF PROBABLE CAUSE

     A.    Background in Smuggling Operations


     5.    Based on my training and experience, I am aware that

alien smuggling operations typically operate as follows:

           a.    The laws of the United States require that all

persons entering the United States present themselves and their

goods at an authorized Customs and Border Patrol ("CBP") Port of

Entry to be inspected by CBP officers.

           b.    Smuggled aliens are often brought from areas in

Mexico, near the United States-Mexico border, by alien smugglers

who intend to bring them illegally into the United States.

           c.    The smugglers conceal the smuggled aliens inside

vehicles and vessels to be transported through the official



                                     2
 Case 5:17-cr-00166-PSG Document 1 Filed 07/27/17 Page 4 of 11 Page ID #:4




United States Border checkpoints without presenting the aliens

for inspection and identification.

          d.     Once inside the United States, the persons being

smuggled are then typically transported to locations known as

"drop houses."    Accomplices at the drop house will contact the

family of the illegal alien for completion of payment prior to

releasing the individual.     Many such drop houses are located in

the Inland Empire and the greater Los Angeles, California area.

          e.     The alien smugglers hold the smuggled aliens at

these drop houses until their relatives and/or friends pay the

alien smugglers a smuggling fee for their release.

          f.     The alien smugglers make contact with the

relatives and/or friends to obtain the fees necessary for the

release of the smuggled aliens.

          g.     After the smuggling fees are paid, arrangements

are made for the delivery of the smuggled aliens to their

friends and/or relatives.

          h.     Those arrangements consist of alien smugglers

driving the smuggled aliens to easily accessible areas in

public, such as fast food restaurants and convenience stores,

where they are delivered to their friends and/or relatives.

Alternatively, alien smugglers drive the smuggled aliens to

transportation facilities such as bus terminals, train stations,

and airports, where the smuggled aliens obtain transportation to

                                    3
  Case 5:17-cr-00166-PSG Document 1 Filed 07/27/17 Page 5 of 11 Page ID #:5



their ultimate destination within the United States.

     B.    The Investigation


     6.    Based on my investigation as well conversations with

other law enforcement officers involved in the investigation, I

know the following:

             a.   On July 26, 2017, at approximately 6:00 p.m.,

 United States Border Patrol agents were working within the

 Murrieta Border Patrol area.      This area is located approximately

 70 miles from the United States/Mexico International Border, in

 Murrieta, California.     Border Patrol Agents Juan Aguayo and

 Richard Hagan were watching traffic on Interstate 15 ("I-15")

 near Murrieta Hot Springs Road.         Agents Aguayo and Hagan were in

 a marked United States Border Patrol Ford Explorer (the

"Explorer") and wore tactical vests identifying them as Border

 Patrol Agents.    Agents Aguayo and Hagan saw a black BMW sedan,

 bearing California license plate 6CKV924 ("the BMW"), traveling

 in the fast lane of traffic.      As the BMW passed Agents Aguayo

 and Hagan, the BMW slowed down significantly, causing cars

 behind it to switch lanes.      Most cars do not decrease their

 speed at the sight of a Border Patrol car because the motoring

 public knows that Border Patrol does not issue citations for

 traffic violations.

             b.   Agents Aguayo and Hagan followed the BMW, with



                                     4
 Case 5:17-cr-00166-PSG Document 1 Filed 07/27/17 Page 6 of 11 Page ID #:6




Agent Aguayo driving.     Agent Aguayo maneuvered the Explorer into

the lane next to the BMW.      The BMW was still going well below

the speed of the flow of traffic.       Agent Aguayo paced the BMW

for approximately two miles at an approximate speed of 60 mph.

The speed limit is 70 mph.      Agents Aguayo and Hagan saw four

occupants in the BMW, two in the front and two in the back.

Border Patrol later identified the driver as HERNANDEZ and the

three passengers, two women and one man, as L.J.A.U., M.A.D.,

and J.G.H.D.

            c.   Agent Hagan checked for border crossing records

related to the BMW, using the mounted laptop in the Explorer.

Record checks showed that the BMW had crossed the international

border through the Tecate, California Port of Entry earlier that

day, at approximately 1:03 p.m.       The sole occupant of the BMW at

that time was HERNANDEZ.      Agent Hagan also discovered alerts on

both the BMW and HERNANDEZ identifying both as high risk for

human smuggling.

            d.   Agent Aguayo slowed down and followed the BMW.

The BMW continued to drive at approximately 60 mph in the fast

lane, impeding the flow of traffic.        When Agent Aguayo

positioned the Explorer behind the the BMW, HERNANDEZ began

swerving within his own lane of travel.        Agents Aguayo and Hagan

believed the swerving was caused by HERNANDEZ looking in his

rear view and side mirrors at the Explorer.
  Case 5:17-cr-00166-PSG Document 1 Filed 07/27/17 Page 7 of 11 Page ID #:7




      C.   The Stop and Arrest


     7.    Based on my investigation as well conversations with

other law enforcement officers involved in the investigation, I

know the following:

             a.    Agents Aguayo and Hagan believed the BMW was

 involved in a smuggling event and stopped the BMW on I-15, near

 Bundy Canyon Road.      Agent Aguayo approached the car from the

 passenger side and identified himself and Agent Hagan, speaking

 in English.      HERNANDEZ, who was in the driver's seat, said that

 the passengers, L.J.A.U., M.A.D., and J.G.H.D., did not speak or

 understand English.      Agent Aguayo then identified himself and

 Agent Hagan as a Border Patrol Agent, speaking in Spanish.

             b.    Agent Aguayo questioned HERNANDEZ about their

 destination.      HERNANDEZ said that they were in route to

 California.      Agent Aguayo told HERNANDEZ that they were

 currently in California and HERNANDEZ replied that he was aware

 of it and provided that answer only because he was nervous.

 HERNANDEZ then said that they were actually in route to Los

 Angeles, California to visit family.

             c.    Agent Aguayo asked HERNANDEZ how he knew the

 occupants of the the BMW.      HERNANDEZ said that they were his

 family members.     HERNANDEZ provided names for the passsengers,

 Juanes, Robert, and Jonas, which Border Patrol later determined
  Case 5:17-cr-00166-PSG Document 1 Filed 07/27/17 Page 8 of 11 Page ID #:8




 were fictitious names.     L.J.A.U., M.A.D., and J.G.H.D. freely

 admitted their true names and that they were citizens of Mexico

 illegally present in United States without immigration documents

 that would allow them to be or remain in the United States

 legally.

             d.   Agent Aguayo told L.J.A.U., M.A.D., and J.G.H.D.,

 that they would be taken into Department of Homeland Security

 custody for being in the country illegally.         Agent Aguayo told

 HERNANDEZ that he was under arrest for alien smuggling.

             e.   Border Patrol transported HERNANDEZ, L.J.A.U.,

 M.A.D., and J.G.H.D. to the Murrieta Border Patrol Station for

 further processing.

     D.     Interview Statements


     8.     On July 26, 2017 at approximately 8:35 p.m., Border

Patrol agents interviewed HERNANDEZ.       Based on my personal

observations and speaking with other agents involved in the

interviews, I know the following:

            a.    Border Patrol Agent Omar Gomez read HERNANDEZ

his Miranda Rights.     HERNANDEZ chose to answer questions without

the presence of an attorney.       When asked, HERNANDEZ declined to

say whether L.J.A.U., M.A.D., or J.G.H.D. had information

favorable to him.




                                     7
 Case 5:17-cr-00166-PSG Document 1 Filed 07/27/17 Page 9 of 11 Page ID #:9




          b.      HERNANDEZ said that he was putting gas in his car

at a gas station off of State Route 78 near Oceanside,

California when L.J.A.U., M.A.D., and J.G.H.D. approached him

and asked for a ride.

          c.      HERNANDEZ was told that he had been seen in

Jacumba, California earlier that day, near the border.

HERNANDEZ said that he had visited a casino in Jacumba,

California area earlier in the day.       Border Patrol Agents

explained that a casino does not exist in Jacumba.          At this

time, HERNANDEZ chose to stop answering questions without an

attorney present.

     9.   On July 26, 2017 at approximately 10:00 p.m., Border

Patrol agents interviewed L.J.A.U.       Based on my personal

observations and speaking with other agents involved in the

interviews, I know the following:

          a.      L.J.A.U. is a Mexican citizen and admitted that

she did not have permission to be in the United States.          She

paid approximately $7,000 USD to be smuggled.         L.J.A.U. said

that HERNANDEZ knew that L.J.A.U., M.A.D., and J.G.H. were

illegal aliens.

          b.    L.J.A.U. identified HERNANDEZ as the driver of

the BMW from a photo line-up.      She said that they were told to

meet HERNANDEZ on a two-lane highway, after crossing the border

in a mountainous area.     L.J.A.U. said that they received


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Case 5:17-cr-00166-PSG Document 1 Filed 07/27/17 Page 10 of 11 Page ID #:10




information from cell calls that M.A.D. and J.G.H.D. were

carrying.

     10.    On July 26, 2017 from approximately 9:00 p.m. to 10:00

p.m., Border Patrol agents interviewed M.A.D.         Based on my

personal observations and speaking with other agents involved in

the interviews, I know the following:

            a.   M.A.D. is a Mexican citizen and admitted that she

did not have permission to be in the United States.          She paid

$8,000 USD to be smuggled.

            b.   M.A.D. identified HERNANDEZ as the driver of the

BMW from a photo line-up.     She said that they were told to meet

HERNANDEZ after crossing the border.

     11.    On July 26, 2017 from approximately 9:00 p.m. to 10:00

p.m., Border Patrol agents interviewed J.G.H.D.         Based on my

personal observations and speaking with other agents involved in

the interviews, I know the following:

            a.   J.G.H.D. is a Mexican citizen and admitted that

he did not have permission to be in the United States.          He paid

$7,000 USD to be smuggled.

            b.   J.G.H.D. identified HERNANDEZ as the driver of

the BMW from a photo line-up.      J.G.H.D. was given a cell phone

before crossing the border and used it to communicate with

someone giving them directions.      They were told to meet

HERNANDEZ on small paved highway after crossing the border.
Case 5:17-cr-00166-PSG Document 1 Filed 07/27/17 Page 11 of 11 Page ID #:11




                    IV.   STATEMENT OF PROBABLE CAUSE

     12. Based on the foregoing, I submit that there is

probable cause to believe that HERNANDEZ transported illegal

aliens within the United States, in violation of Title 8, United

States Code, Section 1324(a)(1)(A)(ii).




                                            ~"Marrufo-Evans,
                                            ~r Patrol Agent,
                                            ed States Border Patrol


Subscribed to and sworn before me
this 27th day of July, 2017.




HONORABLE ANDREW J. WISTRICH
UNITED STATES MAGISTRATE JUDGE




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